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BY ECF

September 20, 2023

Hon. Diane Gujarati
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Re:        United States v. Nicole Daedone & Rachel Cherwitz, 1:23-cr-00146

Dear Judge Gujarati:

This firm represents Rachel Cherwitz in connection with the above-referenced matter. We write
in response to the Government’s September 13, 2023 letter requesting a Curcio hearing, ECF Dkt.
No. 42 (the “September 13 Letter”), and at the direction of the Court’s September 15, 2023 Docket
Order. As set forth more fully below, in lieu of a more formal submission, this letter will: 1)
supplement the procedural record of this issue; 2) demonstrate that the Government’s concerns are
speculative, hypothetical, and do not justify conducting a Curcio hearing; 3) address the
Government’s reliance on inapposite cases; and 4) address Ms. Cherwitz’s informed consent and
Alston & Bird’s compliance with the applicable Rules of Professional Conduct which obviate the
need for a Curcio hearing.

I.         The Government Fails to Identify an Appropriate Basis Entitling It to the Details of Ms.
           Cherwitz’s Legal Fee Arrangement

We have participated in an open dialogue with the Government regarding their Curcio concerns,
which were first raised during a call on August 10, 2023. Specifically, the Government indicated
that prior counsel for Ms. Cherwitz had purportedly confirmed that OneTaste (the “Company”) or
its owners1 were advancing Ms. Cherwitz’s legal fees and, without basis or justification, demanded
that we, as current counsel, provide details about Ms. Cherwitz’s legal fee arrangement. The
Government then stated its position that there is a presumed conflict of interest whenever a third
party advances legal fees, which, as explained below, is neither supported by a plain reading of
the relevant Rules of Professional Conduct, nor is it a fair reading of the applicable case law.

Without confirming the source of payment, we thanked the Government for sharing its view and
confirmed that we are fully aware of, and have complied with, our ethical obligations to our client.
We also asked the Government to explain its concerns about Ms. Cherwitz’s fee arrangement and

1
    Anjuli Ayer, Amanda Dunham, and Austin Ayer purchased the Company in 2017.




Alston & Bird LLP                                                                       www.alston.com
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to provide the legal authority supporting its request for the details of that arrangement and the
Government’s position that the fact of a third-party payor creates a per se conflict. The
Government never provided us with that authority, despite offering to do so, and instead submitted
to the Court its September 13 Letter.

The Sixth Amendment protects a defendant in connection with using “wholly legitimate funds to
hire the attorney of [her] choice,” and the Government has not alleged that the presumed advanced
fees are tainted (they are not). United States v. Stein, 541 F.3d 130, 155 (2d Cir. 2008) (quoting
United States v. Farmer, 274 F.3d 800, 804 (4th Cir. 2001)). Should the Court require disclosure
of the details of Ms. Cherwitz’s fee arrangement in the first instance, however, we respectfully
request leave to do so ex parte for the Court’s consideration. See United States v. Raniere, 18-CR-
204 (NGG), ECF Dkt. No. 266 (E.D.N.Y. Jan. 9, 2019) (accepting submission ex parte and under
seal of information related to defendants’ legal fees).

II.    The Government Cannot Identify a Potential Conflict that Is Sufficiently Apparent

The law requires that the Government articulate a potential conflict that is “sufficiently apparent”
to justify further inquiry by the Court. Wood v. Georgia, 450 U.S. 261, 272 (1981). In support of
its position that there is an identifiable conflict, the Government advances a hypothetical,
attenuated theory that Alston & Bird’s loyalties might conceivably be divided between Ms.
Cherwitz, on the one hand, and the Company or Ms. Daedone, on the other, because (1) Ms.
Daedone and the Company are “strongly associated,” and (2) one of the Company’s owners
subjectively views the Indictment as attacking the Company’s meditative practices. September 13
Letter at 7.

The Government’s conclusion from these unremarkable facts is that Ms. Cherwitz might, at some
undetermined future date, decide to cooperate or otherwise plead guilty, and might be pressured
not do so for fear of “incriminating or disparaging” Ms. Daedone or the Company. Id. Put simply,
the Government has devised a putative conflict, and it seeks the Court’s judicial imprimatur on the
advisability of Ms. Cherwitz’s hypothetical future cooperation. Such a “vague, unspecified
possibility of conflict” amounts only to “creative speculation” that cannot justify the Court’s
inquiry here. United States v. Velez, 354 F.3d 190, 198 (2d Cir. 2004) (quoting Mickens v. Taylor,
535 U.S. 162, 168–69 (2002)).

Curcio proceedings are not based on positional or hypothetical conflicts. The Government must
articulate an actual conflict, and the fact of third-party payment, alone, does not give rise to such
a conflict unless such payment is conditioned on one or more factors that compromise counsel’s
independent judgment. Here, the Government has offered no tangible evidence or permissible
inference of a third-party limitation or condition on counsel’s engagement by Ms. Cherwitz, which
would warrant invading the attorney-client privilege and placing a judicial seal on the importance
of her hypothetical cooperation.
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Ms. Cherwitz has pleaded not guilty to the Indictment which, following a years-long investigation,
charges her with a single count of conspiracy to commit forced labor. Despite the Government’s
hypothetical predictions of cooperation, which they allege give rise to a contrived Curcio issue,
Ms. Cherwitz has expressed her intention to fully defend against this charge and has remained
steadfast in her position. See United States v. Wells, 394 F.3d 725, 735 (9th Cir. 2005) (cited by
the Government, and rejecting an ineffective assistance of counsel claim where the defendant was
unwilling to plead guilty or cooperate, regardless of his counsel’s advice). Despite the Government
representing that it is nearly complete in its provision of Rule 16 discovery, what remains
conspicuously absent is a single shred of evidence that Ms. Cherwitz engaged in a forced-labor
conspiracy. See ECF Dkt. No. 32. As a result, there is no realistic possibility that she will take any
action adverse to either Ms. Daedone or the Company.

III.   The Government Offers Nothing to Distinguish This Case from the Myriad Cases
       Involving Payment by Interested Third Parties

Ms. Cherwitz’s counsel is not being paid by Ms. Cherwitz’s co-defendant—either directly or
indirectly—which makes the facts here easily distinguishable from the cases upon which the
Government relies. See United States v. Locascio, 6 F.3d 924, 932, 925 (2d Cir. 1993); United
States v. Raniere, 18-CR-204 (NGG), ECF Dkt. No. 266 (E.D.N.Y. Jan. 9, 2019); Moreno-Godoy
v. United States, 2014 U.S. Dist. LEXIS 37576 at *7–8 (S.D.N.Y. Mar. 20, 2014). Ms. Cherwitz’s
counsel is also not being paid by any “ringleader” responsible for criminal activity with which Ms.
Cherwitz was allegedly involved, or by any other individual who exposed her to alleged criminal
liability. See Wood, 450 U.S. at 266–69; In re: Grand Jury Subpoena Served Upon John Doe, Esq.,
781 F.2d 238, 247–48 & n.6 (2d Cir. 1986); United States v. Duran-Benitez, 110 F. Supp. 2d 133,
151–53 (E.D.N.Y. 2000). Indeed, the Indictment does not name any co-conspirators other than
Ms. Cherwitz and Ms. Daedone, and certainly not the current owners of OneTaste, who purchased
the Company after the alleged events underlying the Indictment. At bottom, the Government’s
recasting of this routine, unremarkable payment arrangement as suspect rests on rank speculation
divorced from the facts here.

Companies routinely agree to advance the legal fees of current and former employees which does
not give rise to a conflict in and of itself. The hypothetical conflict advanced by the Government
invites the Court to presume that counsel would forego its independent judgment and engage in an
ethics violation essentially to ensure continued payment which, as set forth below, begs the
question of precisely what it is the Government believes Ms. Cherwitz should waive.

IV.    Counsel Has Complied with the Ethics Rules Applicable to Third-Party Payment

The Government’s position suggests the Court has jurisdiction to proceed with a Curcio hearing
any time an employer, company, or other third party elects to advance the fees of an individual
who has been referred to and has engaged independent counsel. This is entirely inconsistent with
the applicable ethics rules, which presume that counsel will discharge their ethical responsibilities
without need for judicial, and certainly not the Government’s, intervention.
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Alston & Bird takes its ethical obligations to its clients very seriously, and the Government’s
suggestion that the presumed “payment structure could, hypothetically, affect defense counsel’s
advice” (September 13 Letter at 6) is concerning. Ms. Cherwitz has furnished informed consent,
and there is no interference with Alston & Bird’s independent professional judgment on Ms.
Cherwitz’s behalf. The New York Rules of Professional Conduct undermine the Government’s
position that a third-party payment arrangement automatically triggers the need for Court
intervention. Rule 1.8(f), which expressly addresses this situation, sets forth a three-part test to
protect clients whose fees are paid by third parties: (1) the client must give informed consent to
the payment arrangement; (2) the third-party payor does not interfere with the lawyer’s
independent judgment or with the attorney-client relationship; and (3) the attorney protects the
client’s confidential information. N.Y. R.P.C. 1.8(f). Alston & Bird has complied with its ethical
obligations and has received Ms. Cherwitz’s informed waiver of any conceivable conflict created
by the payment arrangement. The Government has been informed of such compliance. That alone
is sufficient to obviate the need for a Curcio hearing. See United States v. Ward, 85 F. App’x 246,
248 (2d Cir. 2004) (“When, as here, a conflict of interest poses only a slight risk of impairing a
lawyer’s representation, a district court may accept a defendant’s waiver of the conflict without
holding a Curcio hearing”). In addition, the terms of Alston & Bird’s engagement letter expressly
obligate counsel to provide representation consistent with Disciplinary Rule 5-107(B) of the New
York Code of Professional Responsibility (requiring that a lawyer not permit a person who
recommends, employs, or pays the lawyer to render legal services for another to direct or regulate
the attorney’s professional judgment).

As set forth above, the Government improperly presumes that counsel will be rendered conflicted
to the extent Ms. Cherwitz ever considers testifying, cooperating, or pleading guilty,
notwithstanding the client’s informed consent and counsel’s steadfast compliance with the
prevailing Rules of Professional Conduct and accompanying ethical obligations.

                                            Conclusion

Granting the Government’s request for a Curcio hearing, absent anything other than the
Government’s self-serving invocation of a positional conflict, would establish an untenable
precedent. Nonetheless, to the extent Your Honor determines that, in an abundance of caution and
as a prophylactic measure, a Curcio hearing is appropriate, we do not object, and we respectfully
request that the Court do so at the next status conference for the sake of efficiency. However, we
respectfully ask, through this letter, that the Court require the Government to meet and confer in
an effort to agree upon the proposed questions that will form the factual basis for Ms. Cherwitz’s
waiver. Without a specific and supportable justification for holding a Curcio hearing, and in the
absence of a proposed colloquy, the Government’s letter leaves the reader to speculate precisely
what it is Ms. Cherwitz will be asked to waive.

We thank the Court for its prompt consideration of this matter and are available for any questions.
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Respectfully Submitted,

/s/ Jenny R. Kramer
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